Case 2:12-cr-06061-SMJ   ECF No. 242   filed 12/19/13   PageID.930 Page 1 of 6
Case 2:12-cr-06061-SMJ   ECF No. 242   filed 12/19/13   PageID.931 Page 2 of 6
Case 2:12-cr-06061-SMJ   ECF No. 242   filed 12/19/13   PageID.932 Page 3 of 6
Case 2:12-cr-06061-SMJ   ECF No. 242   filed 12/19/13   PageID.933 Page 4 of 6
Case 2:12-cr-06061-SMJ   ECF No. 242   filed 12/19/13   PageID.934 Page 5 of 6
Case 2:12-cr-06061-SMJ   ECF No. 242   filed 12/19/13   PageID.935 Page 6 of 6
